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wEsTEF:N oisTRicT oF TENNEssEE `
MEMPHls DlvlsloN 05 APR 20 fin 9; j,,

UN|TED STATES OF AN|ER|CA ROBERT F?. Dl " :CE_!O

CLEF€K, U.S. Di `.l`. CT.

-v- 02-20031-06-Nla W'D~ OF TN, ivil:h/iPH|S

BEN ALLEN COULTER

Nlarty B. l'ilchfee, CJA
Defense Attorney

246 Adams Avenue
llilemphis,Tennessee 38103

 

FlEV|SED* JUDGN|ENT lN A CR|lVllNAL CASE
(For Ottenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on July 12, 2002. According|y,
the court has adjudicated that the defendant is guilty ot the following offense(s):

Date Count
Ti:le & section wm offense M(§l
Conc|uded
21 U.S.C. § 846 Conspiracy to Manutacture Methamphetamine 09/06/2001 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Ftestitution Act of 1996.

iT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Detendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition ot Sentence:
Defendant’s Date of Birth: 08/20/1970 *Apri| 4, 2005
Deft’s U.S. lVlarsha| No.: 18231-076

Detendant’s Ftesidence Address:
74 East lV|adison

Highland Trailer Park

l\Jlarion, AR 73232

wm

SA|V|UEL H. MAYS, JFl.
UN|TED STATES D|STR|CT JUDGE

/?’

April , 2005

l docket sheet in compliance f
ith Hule 55 and/or 32(b) FRCrP on ' 2

 

his document entered on the

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Case No: 02-20031-06-Ma
Defendant Name: Ben Al|en Cou|ter Page 2 of 5

llVlPR|SON|V|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *time already served as of June 10, 2005, which
is the date that defendant is expected to complete the 500 hourdrug rehabilitation program

The defendant is remanded to the custody of the United States lVlarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UNlTED STATES l\/|ARSHAL
By:

 

Deputy U.S. |Vlarsha|

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Case No: 02-20031-06-Ma
Defendant Name: Ben Al|en Coulter Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or othercontrolied substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

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Case No: 02~20031-06-Ma
Defendant Name: Ben Al|en Coulter Page 4 of 5

9.

10.

11.

12.

13.

The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant‘s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine ora restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

14.

15.

16.

17.

*The defendant shall serve three (3) months home confinement While serving horne
confinement the defendant shall not leave his dwelling except for necessary care for
defendant’s father, to attend Work, to attend religious services, or With the prior approval of
the Probation Offioer.

The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing forthe detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Offioer.

Defendant shall seek and maintain lawful full-time employment

*The defendant shall cooperate in the collection of DNA as directed by the Probation Offioer.

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Case No: 02-20031-06-|\/|6
Defendant Name: Ben Al|en Coulter Page 5 of 5

CR|MINAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment pursuant to 18 U.S.C. § 3612(f). Al| of the payment

options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately.

FlNE
No fine imposed

REST|TUT|ON

No Ftestitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 255 in
case 2:02-CR-20031 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

